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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JAMES BRYANT,                                :      No.: 4:15-CV-00820
                                             :
                       Plaintiff,            :      (Judge Brann)
                                             :
          v.                                 :
                                             :
VINCENT MOONEY,                              :
                                             :
                       Defendant.            :

                              MEMORANDUM OPINION

                                       MAY 2, 2018

I.        BACKGROUND

          This pro se civil rights action was initiated by James Bryant, an inmate

presently confined at the Mahanoy State Correctional Institution, Frackville,

Pennsylvania (SCI-Mahanoy). An Amended Complaint (Doc. 11) was previously

filed.

          By Memorandum and Order dated February 16, 2016, Defendant Nurse

Practitioner Karen Kaskie’s motion to dismiss for failure to state a claim was

granted. Plaintiff appealed that decision to the United States Court of Appeals for

the Third Circuit. Plaintiff subsequently notified this Court that his appeal had

been dismissed by the Third Circuit for lack of appellate jurisdiction. See Doc. 45.




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       The remaining Defendant is Superintendent Vincent Mooney of the State

Correctional Institution, Coal Township, Pennsylvania (SCI-Coal Twp.) ,

Plaintiff’s prior place confinement. According to the Amended Complaint, on

October 17, 2012, while incarcerated at the State Correctional Institution, Camp

Hill, Pennsylvania (SCI-Camp Hill), Bryant was prescribed Risperidone

(Risperdal), an anti-psychotic medication. Bryant was subsequently transferred to

SCI-Coal Twp. and he allegedly remained on this medication until March 15,

2013. The Amended Complaint generally contends that members of the SCI-Coal

Twp. Medical Department ignored Bryant’s multiple requests that he was suffering

gynecomastia (development of female breasts), a well-known side effect of

Risperidone. Plaintiff seeks injunctive relief and compensatory damages.

       Superintendent Mooney has responded to the Amended Complaint by filing

a motion to dismiss for failure to state a claim. See Doc. 23. The opposed motion

is now ripe for consideration.

II.    DISCUSSION

       A.    Standard of Review

       As previously discussed in my February 16, 2016 Memorandum and Order,

Federal Rule of Civil Procedure 12(b)(6) provides for the dismissal of complaints

that fail to state a claim upon which relief can be granted. A court when ruling on

a motion to dismiss under Rule 12(b)(6), must “accept as true all factual

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allegations in the complaint and all reasonable inferences that can be drawn

therefrom, and view them in the light most favorable to the plaintiff.” Kanter v.

Barella, 489 F.3d 170, 177 (3d Cir. 2007)(quoting Evancho v. Fisher, 423 F.3d

347, 350 (3d Cir. 2005)).

      In order to demonstrate a plausible right to relief, a plaintiff must present

facts that, if true, would show that he or she is entitled to relief. See Fed. R. Civ. P.

8(a), see also, Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). This

provision requires a plaintiff to present “enough facts to raise a reasonable

expectation that discovery will reveal evidence of” the necessary elements of his

cause of action. Id. at 556. A complaint must contain “more than an unadorned,

the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009). “Threadbare recitals of the elements of a cause of action, supported by

mere conclusory statements do not suffice.” Id. A plaintiff’s legal conclusions

must be supported by factual allegations and the complaint must state a plausible

claim for relief. See id. at 679.

      “Factual allegations must be enough to raise a right to relief above the

speculative level, on the assumption that all the allegations in the complaint are

true (even if doubtful in fact).” Twombly, 550 U.S. at 555. A court considering a

motion to dismiss must determine whether the complaint “contain[s] either direct

or inferential allegations respecting all the material elements necessary to sustain

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recovery under some viable legal theory.” Id. at 562; see also Phillips v. County of

Allegheny, 515 F.3d 224, 234 (3d Cir. 2008)(in order to survive a motion to

dismiss, a plaintiff must allege in his complaint “enough facts to raise a reasonable

expectation that discovery will reveal evidence of the necessary element[s]” of a

particular cause of action). I note that pro se pleadings are to be construed

liberally. See Haines v. Kerner, 404 U.S. 519, 520 (1972).

      B.     Personal Involvement

      Defendant Mooney claims entitlement to entry of dismissal because the

Amended Complaint fails to allege a discernible claim that he was personally

involved in any constitutional misconduct. See Doc. 24, p. 4. Superintendent

Mooney asserts that although he is named as a Defendant, there are no allegations

that he was involved at all in Plaintiff’s medical treatment at SCI-Coal Twp.

      In an opposing brief, Bryant states that Superintendent Mooney has total

oversight of SCI-Coal Twp. and has the responsibility to investigate prisoner

grievances. See Doc. 27, p. 1. The Plaintiff alleges that Defendant Mooney rubber

stamps the actions of the prison medical staff and acted improperly with respect to

his handling of Bryant’s institutional grievances.

      A plaintiff, in order to state an actionable civil rights claim, must plead two

essential elements: (1) that the conduct complained of was committed by a person

acting under color of law, and (2) that said conduct deprived the plaintiff of a right,

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privilege, or immunity secured by the Constitution or laws of the United States.

See Groman v. Township of Manalapan, 47 F.3d 628, 638 (3d Cir. 1995). The

Eighth Amendment “requires prison officials to provide basic medical treatment to

those whom it has incarcerated.” Rouse v. Plantier, 182 F.3d 192, 197 (3d Cir.

1999) (citing Estelle v. Gamble, 429 U.S. 97 (1976)). To establish an Eighth

Amendment medical claim, an inmate must allege acts or omissions by prison

officials sufficiently harmful to evidence deliberate indifference to a serious

medical need. See Spruill v. Gillis, 372 F.3d 218, 235-36 (3d Cir. 2004); Natale v.

Camden Cty. Correctional Facility, 318 F.3d 575, 582 (3d Cir. 2003).

      That said, federal civil rights claims brought under § 1983 cannot be

premised on a theory of respondeat superior. Rode v. Dellarciprete, 845 F.2d

1195, 1207 (3d Cir. 1988). Rather, each named defendant must be shown, via the

complaint's allegations, to have been personally involved in the events or

occurrences which underlie a claim. See Rizzo v. Goode, 423 U.S. 362 (1976). As

explained in Rode:

             A defendant in a civil rights action must have personal
             involvement in the alleged wrongs. . . . [P]ersonal involvement
             can be shown through allegations of personal direction or of
             actual knowledge and acquiescence. Allegations of
             participation or actual knowledge and acquiescence, however,
             must be made with appropriate particularity.

Rode, 845 F.2d at 1207.


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      Furthermore, prisoners have no constitutionally protected right to a

grievance procedure. See Jones v. North Carolina Prisoners’ Labor Union, Inc.,

433 U.S. 119, 137-38 (1977)(Burger, C.J., concurring) (“I do not suggest that the

[grievance] procedures are constitutionally mandated.”); Speight v. Sims, No. 08-

2038, 2008 WL 2600723 at *1 (3d. Cir. Jun 30, 2008)(citing Massey v. Helman,

259 F.3d 641, 647 (7th Cir. 2001)(“[T]he existence of a prison grievance procedure

confers no liberty interest on a prisoner.”) . While prisoners do have a

constitutional right to seek redress of their grievances from the Government, that

right is the right of access to the courts which is not compromised by the failure of

prison officials to address an inmate’s grievance. See Flick v. Alba, 932 F.2d 728,

729 (8th Cir. 1991) (federal grievance regulations providing for administrative

remedy procedure do not create liberty interest in access to that procedure).

      Although the Amended Complaint lists Superintendent Mooney as a

Defendant, there are no other factual assertions set forth regarding him. As such,

and based on the arguments set forth in Plaintiff’s opposing brief, it is apparent that

Bryant is improperly attempting to establish liability against Defendant Mooney

based upon either his supervisory capacity at SCI-Coal Twp. or his failure to take

action in response to Bryant’s medical grievances.

      In light of the standards set forth in Rode, the Amended Complaint, to the

extent that it seeks to establish liability against Defendant Mooney under a theory

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of respondeat superior, is subject to dismissal. Likewise, any attempt by Plaintiff

to pursue a claim against Superintendent Mooney based upon his handling of an

administrative grievance or complaint does not support a constitutional claim. See

Alexander v. Gennarini, 144 Fed. Appx. 924, 925 (3d Cir. 2005)(involvement in

post-incident grievance process not a basis for § 1983 liability). Furthermore , the

United States Court of Appeals for the Third Circuit in Durmer v. O'Carroll, 991

F.2d 64, 69 (3d Cir. 1993) recognized that a non-physician defendant such as

Superintendent Mooney cannot be considered deliberately indifferent for failing to

respond to an inmate's medical complaints when the inmate is already receiving

treatment by the prison's medical staff.

      There are no viable assertions of personal involvement set forth in the

Amended Complaint which could establish that Defendant Mooney was personally

involved in constitutional misconduct here. Entry of dismissal in his favor is

therefore proper. An appropriate Order follows



                                                 BY THE COURT:



                                                 s/ Matthew W. Brann
                                                 Matthew W. Brann
                                                 United States District Judge



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